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From: Mike Mosley <mosley@jowenslawfirm.com>
Sent: Sunday, February 26, 2023 7:14 PM
To: Ryan Smith <RSMITH@RoseLawFirm.com>
Cc: Miranda Lawrence <miranda@jowenslawfirm.com>; Jason Owens
<owens@jowenslawfirm.com>; Bourgon Reynolds <BREYNOLDS@RoseLawFirm.com>; Luke Vance
<LVANCE@RoseLawFirm.com>; JaNan Thomas <jthomas@arcounties.org>
Subject: Fw: Depositions

Ryan, in furtherance of my email conferring about a stay of discovery, I'm forwarding you an email
from September. I am not representing this constitutes your agreement at all to a stay. But the same
issue we had then is true now, i.e., the dispositive motion remains pending. I do not want to rush the
Court, but I do think depending on the ruling, particularly qualified immunity, we might be spending
money at this time unnecessarily. So, I just wanted to reiterate I think a stay is in order until the
Court rules, considering the cases I cited, and a motion for a new schedule as well to avoid
unnecessary expense. I'll await word from you guys Monday on your thoughts. Thanks, Mike


From: Ryan Smith <RSMITH@RoseLawFirm.com>
Sent: Tuesday, September 20, 2022 11:24 AM
To: Mike Mosley <mosley@jowenslawfirm.com>
Cc: Bourgon Reynolds <BREYNOLDS@RoseLawFirm.com>; Jason Owens
<owens@jowenslawfirm.com>; Miranda Lawrence <miranda@jowenslawfirm.com>
Subject: RE: Depositions

Mike,

We are confused by Defendants’ position.

On Sunday, September 18, 2022, you filed a motion for judgment on the pleadings. (Doc. 40). Three
hours later, you attempted to unilaterally schedule depositions for the five Plaintiffs for September
28-30. See Email, M. Mosley to B. Reynolds, dated September 18, 2022. It appears to us that you
sought to unilaterally schedule these five depositions (on ten-days’ notice) on these dates because
Plaintiffs’ response to your motion for judgment on the pleadings would be due the following
business day. That aside, I responded to your email noting my unavailability for depositions during
September and October, but proposed to schedule the depositions in November. See Email, R. Smith
to M. Mosley, dated September 19, 2022. You responded that, “November is much too late” and
demanded dates in October. See Email, M. Mosely to R. Smith, dated September 19, 2022.

Can you please explain why a November deposition date is “much too late”? As I stated in my
previous email, I have very limited availability over the next six weeks. For starters I have multiple
depositions scheduled over the next few weeks regarding a preliminary injunction hearing before
Judge Brooks in mid-October. In short, that timeframe simply is not feasible, particularly on such
short notice (and while we are responding to your pending motion). I also note that the discovery
deadline is April 14, 2023. (Doc. 32, ¶ 5). We do not understand why these five depositions must be
completed approximately six months before the close of discovery. If anything, the fact that you filed
a motion for judgment on the pleadings two days ago would seem to counsel in favor of a later
deposition date, as any ruling could impact the scope of discovery.

I am available November 9-11, November 14-16, and December 5-7. Please advise as to whether any
of these dates work for you.

Thanks,
Ryan
